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Case

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Attorney for Defendant
POSHMARK, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

‘TEXKHAN,INC., a Calitornia Case No.: 2:19-cv-02850-DMG-JC

Corporation ne aa ean doing

business as HYUP SUNG T.R.D.,
Plaintif? JOINT STIPULATION FOR
? DISMISSAL PURSUANT TO
V. F.R.C.P. 41 (a)(1)(A)(ii)

EN CREME, an unknown business entity;
POSHMARK, INC., a Delaware

pow gration doing business as
POSHMARK: PROMGIRL, LLC, a New
York Limited Liabilit Company, doing
business as THISGIRL; and DOES |
through 50,

Defendants.

 

 

JOINT STIPULATION FOR DISMISSAL PURSUANT TO F.R.C.P. 41 (a)(1)(A)(ii)
-1-

 

 
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Pursuant to F.R.C.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between
Plaintiff TEXKHAN, INC., a California Corporation, individually and doing
business as HYUP SUNG T.R.D. (“Plaintiff”) and Defendant POSHMARK, INC.,
a Delaware Corporation, doing business as POSHMARK (“Defendant”) that this
action may be dismissed with prejudice as to Defendant. Each party bears its own

attorney’s fees and costs.

Dated: June 10, 2019 LAW OFFICES OF ALBERT CHANG
By: /s/ Hyunsuk Albert Chang

Hyunsuk Albert Chang

Grace H. Jang

Attorneys for Plaintiff
TEXKHAN, INC., a California Corporation,
dba HYUP SUNG T.R.D.

Dated: June 10, 2019 GOODWIN PROCTER LLP

By: /s/ Natasha Daughtrey

Natasha E. Daughtrey

Attorneys for Defendant
POSHMARK, INC.

 

JOINT STIPULATION FOR DISMISSAL PURSUANT TO F.R.C.P. 41 (a)(1)(A)(iD
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SIGNATURE CERTIFICATION

I hereby certify that the content of this document is acceptable to Natasha E. Daughtrey,

counsel for Poshmark, Inc., and that I have obtained authorization to affix her electronic

signature to this document.

Dated: June 10, 2019 LAW OFFICES OF ALBERT CHANG

By:_/s/ Hyunsuk Albert Chang
Hyunsuk Albert Chang
Grace H. Jang
Attorneys for Plaintiff
TEXKHAN, INC., a California Corporation,
dba HYUP SUNG T.R.D.

 

 

 
